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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF DELAWARE

MARY PHILIPS,                       )
                                    )
                 Plaintiff,         )                   Case No. 1:24-cv-00282-MN
                                    )
         v.                         )
                                    )
                                    )                   JURY TRIAL DEMANDED
XOS, INC., DAKOTA SEMLER, GEORGE N. )
MATTSON, STUART BERNSTEIN, ALICE    )
K. JACKSON, BURT JORDAN, ED RAPP,   )
and GIORDANO SORDONI,               )
                                    )
                 Defendants.
                                    )
                                    )
                                    )
                                    )
                                    )

                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

plaintiff voluntarily dismisses the claims in the above-captioned action (the “Action”). Defendants

have neither served an answer or a motion for summary judgment in the Action.

 Dated: April 17, 202                                 LONG LAW, LLC

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